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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-10778 (___)
                                                                       )
                                    Debtors.                           )    (Joint Administration Requested)
                                                                       )

                       DECLARATION OF SCOTT H. ROSA,
            CHIEF FINANCIAL OFFICER OF CARESTREAM HEALTH, INC.,
         IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

         I, Scott H. Rosa, hereby declare under penalty of perjury:

         1.      I am the Chief Financial Officer of Carestream Health, Inc. (“Carestream Health,”

and together with the other above-captioned debtors and debtors in possession, the “Debtors,” and

collectively with their non-debtor affiliates, “Carestream” or the “Company”).

         2.      I have approximately seventeen years of experience in the healthcare technology

sector, with particular expertise in finance, accounting, and corporate operations. I received a

Bachelor of Science degree in accounting from SUNY Geneseo in 1996, and I am a Certified

Public Accountant in the State of New York. From September 1996 until September 2002, I

worked at Pricewaterhouse Coopers, where I served as an Assurance Manager for both large public

and mid-sized private companies. From September 2002 until January 2007, I served as Controller

within various business units at Carestream’s predecessor, Eastman Kodak Company (“Kodak”),

including serving as the Controller for Kodak’s Health Group.                        Following the May 2007



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
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acquisition of Kodak’s Health Group by Onex Corporation (together with its affiliates, “Onex”), I

served as Controller of Carestream. During the Company’s formation, I was an initial member of

the Company’s finance leadership team and I helped establish the Company’s finance department

and its operating mechanisms. I also assisted with multiple acquisitions and divestitures while in

that role. In August 2018, I was appointed Chief Financial Officer of Carestream.

       3.      Each of the Debtors filed voluntary petitions for relief under chapter 11 of the

United States Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), with the United

States Bankruptcy Court for the District of Delaware (the “Court”) on August 23, 2022. To

minimize the adverse effects on their business, the Debtors have filed motions and pleadings

seeking various types of “first day” relief (collectively, the “First Day Motions”). The facts set

forth in each First Day Motion are incorporated herein by reference. I submit this declaration

(the “Declaration”) to assist the Court and parties in interest in understanding the circumstances

compelling the commencement of these chapter 11 cases and in support of the Debtors’ chapter

11 petitions and First Day Motions filed contemporaneously herewith.

       4.      As the Chief Financial Officer of Carestream, I am generally familiar with

the Debtors’ day-to-day operations, business and financial affairs, and books and records. Except

as otherwise indicated herein, all facts set forth in this Declaration are based upon my personal

knowledge, information obtained from the Debtors’ management team and advisors, my review of

relevant documents and information concerning the Debtors’ operations, financial affairs, and

restructuring initiatives, or my opinions based on my experience and knowledge. I am over the

age of 18 and authorized to submit this Declaration on behalf of the Debtors. If called upon to

testify, I could and would testify competently to the facts set forth in this declaration.




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                                                   Introduction

        5.        Originally formed as Kodak’s Health Group, Carestream is a leading global

provider of innovative medical imaging and non-destructive testing products with over 100 years

of industry experience. In 2007, the Company was acquired by Onex. Carestream is a partner of

choice to approximately 8,000 direct customers and 900 dealers that distribute its products to more

than 50,000 end users in more than 130 countries. Carestream’s products are used by major health

systems, hospitals, imaging centers, specialty practices, and industrial companies worldwide.

Headquartered in Rochester, New York, Carestream, through its global workforce of

approximately 3,410 employees, offers best in class products and materials to its customers. As

of the date hereof, among other obligations, the Debtors2 have approximately $1,032.9 million in

aggregate outstanding principal amount of funded debt obligations, consisting of approximately:

                  •   $507.7 million in first lien term loan indebtedness;
                  •   $77.0 million in outstanding first lien revolver borrowings; and
                  •   $448.2 million in second lien term loan indebtedness.

        6.        As further described herein, Carestream has spent significant time over the past

several months working together with its existing lenders to explore strategic alternatives to best

position the Company for success. The Plan3 reflects the culmination of those efforts and seeks to

implement a comprehensive recapitalization of the Debtors’ balance sheet with overwhelming

creditor support. Specifically, after extensive diligence and arms’ length negotiations with an



2
    The Debtors in these chapter 11 cases are Carestream’s U.S. subsidiaries. For the avoidance of doubt, none of
    Carestream’s international entities are Debtors in these chapter 11 cases, and such entities will continue to operate
    in the ordinary course during the pendency of these chapter 11 cases.
3
    Capitalized terms used but not defined herein have the meanings ascribed to them in the in the contemporaneously
    filed Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor Affiliates
    (as amended, supplemented, or otherwise modified from time to time, the “Plan”) or the Disclosure Statement for
    the Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor Affiliates
    (as amended, supplemented, or otherwise modified from time to time, the “Disclosure Statement”), as applicable.



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ad hoc group of holders of First Lien Claims and Second Lien Term Loan Claims (the “Crossover

Group”), the Debtors reached an agreement with their Sponsor, First Lien Lenders holding more

than 70 percent of the outstanding First Lien Claims, and Second Lien Lenders holding more than

99 percent of the outstanding Second Lien Term Loan Claims on the terms of the restructuring

transactions set forth in that certain restructuring support agreement, dated as of August 21, 2022

(the “Restructuring Support Agreement,” and the transactions contemplated thereby,

the “Restructuring Transactions”).        To facilitate the implementation of the Restructuring

Transactions, concurrently with the execution of the Restructuring Support Agreement, (i) certain

members of the Crossover Group have committed to provide the Debtors with up to $80 million

in debtor-in-possession financing to cover the administrative costs of these chapter 11 cases and

to bolster the Debtors’ liquidity upon their exit from chapter 11, and (ii) certain parties, including

certain First Lien Lenders, have committed to provide an $85 million New ABL Facility to support

the Debtors’ working capital needs following emergence.              Importantly, the Plan will also

deleverage the Debtors’ balance sheet by approximately $470 million.

       7.        The key terms of the Restructuring Transactions, as reflected in the Plan, include

the following:

                 •   certain members of the Crossover Group have committed to provide the Debtors
                     with access to up to $80 million in debtor-in-possession financing consisting of
                     (a) a $5 million tranche that will be repaid in full in cash, and (b) a $75 million
                     tranche that will be partially satisfied with proceeds of an equity rights offering,
                     if any, and the remainder will be equitized into the New Common Stock through
                     the DIP Rollover, subject to dilution by the Debtors’ Management Incentive
                     Plan;
                 •   each holder of an Allowed First Lien Claim shall receive (a) cash in an amount
                     equal to 3% of its Allowed First Lien Claim and (b) its pro rata share of the
                     New Term Loan Facility in aggregate principal amount between $536 million
                     and $547 million (depending on the level of participation in the ABL Roll
                     Option) for the remainder of its claim, provided that holders of Allowed First
                     Lien Revolving Claims may elect to roll a portion of their Allowed First Lien



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                   Revolving Claims into new loans under the New ABL Facility pursuant to the
                   ABL Roll Option;
               •   the Debtors’ existing Second Lien Term Loan will be cancelled and each holder
                   of an Allowed Second Lien Term Loan Claim shall receive its pro rata share
                   of (a) 10% of the New Common Stock, subject to dilution by the Debtors’
                   Management Incentive Plan, and (b) the right to purchase for cash its pro rata
                   share of 80% of the New Common Stock, subject to dilution by the Debtors’
                   Management Incentive Plan;
               •   each Holder of an Allowed General Unsecured Claim will be paid in full in cash
                   or have its claim reinstated; and
               •   existing equity interests will be cancelled on the Effective Date.

         8.    To provide the Reorganized Debtors with sufficient liquidity as a going concern,

the Reorganized Debtors will enter into the New ABL Facility upon the Debtors’ emergence from

chapter 11. Certain parties, including certain First Lien Lenders, have committed to provide the

Reorganized Debtors with the New ABL Facility in an aggregate principal amount of $85 million.

         9.    Notably, the Plan leaves general unsecured creditors unimpaired and will allow

the Debtors to minimize disruptions to their go-forward operations while effectuating a

value-maximizing transaction through the chapter 11 process.           In light of the foregoing,

the Debtors expect to continue operating normally throughout the court-supervised process and

remain focused on serving their customers and working with suppliers on normal terms. With the

overwhelming support of their lenders, the Debtors are seeking authority to move through the

chapter 11 process on an expedited basis to implement the Restructuring Transactions as set forth

below.

         10.   The Debtors believe that the deleveraging and liquidity-enhancing Restructuring

Transactions set forth in the Plan represent a value-maximizing path forward. Consummation of

the Restructuring Transactions will position the Debtors to capitalize on their core strengths—

including their leading imaging, non-destructive testing, and contract manufacturing business—to

achieve long-term success. In my opinion, the Plan is in the best interests of the Debtors’ estates


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and represents the best available alternative at this time. The Debtors are confident that they can

implement the Restructuring Transactions to ensure the Debtors’ long-term viability.

        11.      On August 21, 2022 (the “Solicitation Commencement Date”),4 the Debtors

launched solicitation of votes on the Plan, and as of the Petition Date, Holders of approximately

73% of First Lien Claims and approximately 98% of Second Lien Term Loan Claims have accepted

the Plan. Moreover, as soon as practicable following the Court’s approval of the Scheduling

Motion,5 the Debtors will send a notice (the “Combined Hearing Notice”)6 to all parties listed on

their creditor matrix. The Debtors also will post the Combined Hearing Notice on the Debtors’

public restructuring website (along with the Plan and the Disclosure Statement), and they have

arranged for a shorter-form version of the Combined Hearing Notice to be published in The New

York Times (national and international editions) and the Rochester Democrat and Chronicle.

        12.      In my opinion, it is imperative that the Debtors proceed swiftly to confirmation of

the Plan and emergence from these chapter 11 cases. Given that the Plan has been accepted by all

Holders of First Lien Claims and Second Lien Term Loan Claims that submitted ballots and pays

all other claims in full, a prolonged stay in chapter 11 is unnecessary and would result in significant

incremental administrative costs and business disruption. Furthermore, pursuant to the milestones




4
    The Debtors’ solicitation process is discussed in greater detail in the Disclosure Statement and the Scheduling
    Motion (as defined herein).
5
    The “Scheduling Motion” refers to the Debtors’ Motion for entry of an Order (I) Scheduling a Combined
    Disclosure Statement Approval and Plan Confirmation Hearing, (II) Approving Related Dates, Deadlines,
    Notices, and Procedures, (III) Approving the Solicitation Procedures and Related Dates, Deadlines, and Notices,
    (IV) Approving the Rights Offering Procedures and Related Dates, Deadlines, and Notices, (V) Conditionally
    Waiving the Requirements that (A) the U.S. Trustee Convene a Meeting of Creditors and (B) the Debtors File
    Schedules of Assets and Liabilities, Statements of Financial Affairs, and Rule 2015.3 Financial Reports, filed
    contemporaneously herewith.
6
    The proposed Combined Hearing Notice clearly discloses, among other things, the Debtors’ proposed timeline
    for these chapter 11 cases, including the proposed confirmation hearing date and confirmation objection deadline,
    the treatment of stakeholders under the Plan, and the contemplated release provisions.



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  in the Restructuring Support Agreement, the Debtors must obtain confirmation of the Plan within

  45 days of the Petition Date. Accordingly, the Debtors have proposed the following case timeline,

  subject to Court approval and availability:

                       Event                                                    Date
Voting Record Date and
                                                          August 15, 2022
Rights Offering Record Date
Solicitation Commencement Date                            August 21, 2022
Voting Deadline and                                       August 22, 2022, at 12:00 p.m., prevailing
Rights Offering Subscription Deadline                     Eastern Time
Petition Date                                             August 23, 2022
                                                          As soon as practicable following approval of
Service of Combined Hearing Notice
                                                          the Combined Hearing Notice
Initial Plan Supplement Deadline                          September 14, 2022
                                                          September 21, 2022, at 5:00 p.m., prevailing
Objection Deadline
                                                          Eastern Time
                                                          September 26, 2022, at 12:00 p.m., prevailing
Deadline to File Confirmation Brief and Reply
                                                          Eastern Time
Combined Hearing                                          September 28, 2022, subject to Court availability

          13.     The Plan has been accepted by all impaired creditors entitled to vote that submitted

  ballots, and the Debtors will provide notice to all parties in interest such that they will have had

  ample notice of and opportunity to participate in these chapter 11 cases. The expeditious

  confirmation of the Plan and consummation of the Restructuring Transactions are therefore in the

  best interests of the Debtors, their estates, and all interested parties.

          14.     To further familiarize the Court with the Debtors, their business, the circumstances

  leading to these chapter 11 Cases, and the relief the Debtors are seeking in the First Day Motions,

  I have organized this declaration into four sections as follows:




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               •   Part I provides a general overview of the Debtors’ organizational history and
                   business operations;

               •   Part II provides an overview of the Debtors’ prepetition organizational and
                   capital structure;

               •   Part III describes the circumstances leading to these chapter 11 cases; and

               •   Part IV sets forth the evidentiary basis for the relief requested in the First Day
                   Motions.

I.     Carestream’s History and Business Operations

       A.      Corporate History

       15.     As noted above, the Company began as Kodak’s Health Group and has been a

leader in medical imaging and testing products for over a century. Kodak introduced the first

X‑ray specific medical imaging paper in 1886 and developed innovative products designed for

radiation detection, cardiology, dentistry, mammography, and oncology, among other disciplines.

In 2007, the Company was acquired by Onex and certain minority shareholders for $2.35 billion.

The Company was named “Carestream,” after its prominent healthcare IT product, the Carestream

Picture Archiving and Communication System. At the time of its acquisition, the Company

provided medical, dental, molecular imaging, healthcare IT, and non‑destructive testing products

to a broad customer base of distributors, healthcare systems, and medical and dental professionals

around the world. Today, Carestream is a partner of choice to approximately 8,000 direct

customers and 900 dealers that distribute its products to more than 50,000 end users in more than

130 countries. Carestream is the number one producer of digital print film, number two producer

of digital radiography equipment, and number three producer of non-destructive testing products

globally.




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       B.        Business Operations and Product Lines

       16.       As further detailed below, the Company’s business is comprised of three main

product lines:        (a) medical film, (b) medical digital, and (c) non-destructive testing.

The Company’s medical film product line includes printer systems, laser imaging films, and dental

film, and accounts for approximately 44% of the Company’s revenue. The medical digital product

line includes digital radiography stationary and mobile units, as well as digital detector systems,

and accounts for approximately 35% of the Company’s revenue. The non-destructive testing

product line includes digital and traditional non-destructive testing products and accounts for

approximately 9% of the Company’s revenue. In addition, the Company provides contract

manufacturing services to third parties, which account for approximately 12% of the Company’s

revenue.

                 1.      Medical Film

       17.       The Company’s medical film product line, which generated approximately

$502 million in 2021, is the largest driver of the Company’s revenue. Carestream’s medical film

products include printer systems and films that are used to print physical images from digital

imaging equipment (e.g., X-Ray, MRI, CT, etc.) for diagnosis, referral, or archiving purposes.

These printers utilize Carestream film, resulting in high rates of customer retention and recurring

purchases.   The Company has a 37% market share in this space globally, with a base of

approximately 75,000 printers.




                              (Carestream medical film and packaging)




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               2.     Medical Digital

       18.     The Company’s medical digital product line offers a portfolio of fixed and mobile

general radiography systems, including X-ray equipment able to produce digital images for

real-time patient diagnoses. In tandem with these products, the Company provides a full spectrum

of related services to its customers, including but not limited to, maintenance agreements, system

implementation, and upgrades. Key products in this category include the DRX-Evolution Plus

premium room offering and the DRX-Revolution mobile X-ray system accompanied with a broad

selection of DR detectors. During the past twelve months, the Company’s medical digital line was

the second largest driver of the Company’s revenue, accounting for approximately $402 million

of revenue.




       (Carestream’s DRX-Evolution Plus System, DRX-Revolution Mobile X-ray System)

               3.     Non-Destructive Testing

       19.     The Debtors offer a portfolio of non-destructive testing products, including

film‑based and digital imaging products used to test the quality and integrity of materials and

structures, such as motor vehicle components, aircraft components, bridges, pipelines, and trains.

The Company’s non‑destructive testing line accounted for approximately $103 million of

the Company’s revenue in 2021. Approximately 80% of the Company’s revenue from its non-




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destructive testing line is derived from traditional non‑destructive physical testing products such

as film, chemicals, and processors, with the remainder of such revenue derived from the sale of

higher‑margin digital offerings. The Company’s wide range of non‑destructive testing offerings

hold a global market share of approximately 25% in this space.




                (Exposure Interface Box, and example materials testing software)

               4.     Contract Manufacturing

       20.     In addition to the Company’s three primary product lines, the Company provides

contract manufacturing services to deliver precision-coated products for industrial customers and

competitors operating in the Company’s vertical markets. The Company capitalizes on its full

medical supply chain and materials coating experience to provide leading manufacturing

capabilities for its clients. The contract manufacturing business generated approximately $103

million of revenue in 2021.

               5.     Operations

       21.     The Company has a global manufacturing and distribution network with facilities

in Rochester, New York; Windsor, Colorado; White City, Oregon; Guadalajara, Mexico;

Varginha, Brazil; Xiamen, China; Shanghai, China; Singapore; and Dordrecht, Netherlands.




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The Company’s facilities have a combined total footprint of approximately 1.5 million square feet

that allow Carestream to service customers and distributors in more than 130 counties.

II.      Carestream’s Organizational Structure and Prepetition Capital Structure

         A.      Carestream’s Organizational Structure

         22.     Carestream’s current organizational structure is reflected, in simplified form, in the

following chart. A comprehensive organizational chart is attached hereto as Exhibit A.




         B.      Carestream’s Prepetition Capital Structure

         23.     As of the Petition Date, the Debtors have approximately $1,032.9 million in

aggregate outstanding principal amount of funded debt obligations. Each of the Debtors in these

chapter 11 cases are obligors under the First Lien Credit Agreement and the Second Lien Credit

Agreement (each as defined below).

      Funded Debt                                    Approximate Outstanding Principal Amount
      First Lien Term Loan Facility                               $507.7 million
      First Lien Revolving Loan Facility                           $77.0 million
      Second Lien Term Loan Facility                              $448.2 million

      Total Funded Debt Obligations                               $1,032.9 million




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                 1.      First Lien Term Loan Facility

        24.      Carestream Health Holdings, Inc. (“Carestream Holdings”), as holdings, Carestream

Health, as Company and Term Loan Borrower,7 the several lenders party thereto (the lenders under the

First Lien Credit Agreement (as defined below), collectively, the “First Lien Lenders”), and Credit

Suisse AG, Cayman Islands Branch (“Credit Suisse Cayman”), as Administrative Agent, are each party

to that certain Amended and Restated Credit Agreement (First Lien), dated as of June 7, 2013 (as the

same may be amended, amended and restated, supplemented, or otherwise modified from time to time,

the “First Lien Credit Agreement,” the term loan facility thereunder, the “First Lien Term Loan

Facility,” and the revolving loan facility thereunder, the “First Lien Revolving Loan Facility”).8

        25.      The First Lien Term Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors (as defined in the First Lien Credit Agreement) and is secured

on a first priority basis (pari passu with the First Lien Revolving Loan Facility) by substantially

all of the Debtors’ assets.

        26.      The First Lien Term Loan Facility matures on May 8, 2023, and accrues interest at a

rate of LIBOR plus 6.75% per annum. As of the Petition Date, approximately $507.7 million in

aggregate principal amount remains outstanding under the First Lien Term Loan Facility.

                 2.      First Lien Revolving Loan Facility

        27.      The First Lien Revolving Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors and is secured on a first-priority basis (pari passu with the

First Lien Term Loan Facility) by substantially all of the Debtors’ assets.




7
    On December 31, 2017, Onex Carestream Finance LP (“Onex Finance”), the Term Loan Borrower under the
    original First Lien Credit Agreement, assigned its obligations as Term Loan Borrower to Carestream Health.
8
    The First Lien Credit Agreement has been subsequently amended or supplemented on June 9, 2017, June 22,
    2017, December 27, 2018, April 11, 2019, January 29, 2020, April 13, 2020, May 8, 2020, and October 14, 2020.



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         28.     The First Lien Revolving Loan Facility matures on May 8, 2023, and accrues interest

at a rate of LIBOR plus 6.75% per annum (subject to adjustments pursuant to the First Lien Credit

Agreement). As of the Petition Date, approximately $77.0 million in aggregate principal amount

remains outstanding under the First Lien Revolving Loan Facility.

                 3.      Second Lien Term Loan Facility

         29.     Carestream Holdings, as holdings, Carestream Health, as Company and Term Loan

Borrower,9 the several lenders party thereto (the “Second Lien Term Lenders”), and Credit Suisse

Cayman, as Administrative Agent, are each party to that certain Second Lien Credit Agreement, dated

as of June 7, 2013 (as the same may be amended, amended and restated, supplemented, or otherwise

modified from time to time, the “Second Lien Credit Agreement” and the term loan facility thereunder,

the “Second Lien Term Loan Facility”).10

         30.     The Second Lien Term Loan Facility is guaranteed by Carestream Holdings and

the Company Subsidiary Guarantors (as defined in the Second Lien Credit Agreement) and is secured

on a second-priority basis to the First Lien Term Loan Facility and First Lien Revolving Loan

Facility by substantially all of the Debtors’ assets.

         31.     The Second Lien Term Loan Facility matures on August 8, 2023, and accrues interest

at a rate of LIBOR plus 4.50% per annum payable in cash and 8% per annum payable in kind (subject

to adjustments pursuant to the Second Lien Credit Agreement).                 As of the Petition Date,

approximately $448.2 million in aggregate principal amount remains outstanding under the Second

Lien Term Loan Facility.


9
     On December 31, 2017, Onex Finance, the Term Loan Borrower under the original Second Lien Credit
     Agreement, assigned its obligations as Term Loan Borrower to Carestream Health.
10
     The Second Lien Credit Agreement has been subsequently amended or supplemented on June 9, 2017,
     December 27, 2018, April 11, 2019, January 29, 2020, April 13, 2020, May 8, 2020, October 14, 2020, and
     December 30, 2020.



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               4.     Equity Interests

         32.   Onex holds the majority of the equity interests of Debtor Carestream Holdings, the

ultimate parent of the Debtors. The remaining shares of Carestream Holdings are primarily held

by current and former management of the Debtors.

III.     Events Leading to These Chapter 11 Cases

         A.    Industry Headwinds and the COVID-19 Pandemic

         33.   In recent years, the medical imaging business has faced challenges resulting from

decreasing demand for traditional film products and downward pricing pressures.             While

the Company has maintained consistent sales volume for medical film products in developing

markets, it has seen a shift in demand to digital-only products in developed markets. In the last

ten years, Company sales to developed market buyers as a portion of all digital print product sales

have fallen from approximately 24% to just 4%. These market changes have had a significant

impact on the Company’s earnings, as medical digital products generate lower EBITDA than

medical film. In emerging markets, the Company has faced downward pricing pressures due to

competitive pressures as well as government efforts to reduce the cost of healthcare. As an

example, in 2018, the Chinese government created the National Healthcare Security

Administration (NHSA), which uses volume-based procurement strategies to secure testing and

imaging products on a consolidated basis for healthcare purchasers across the country. While the

Company has focused on decreasing costs to maintain a competitive margin in digital print film,

it has seen revenue declines of approximately $100 million since 2018.

         34.   These trends across the medical film industry were further exacerbated by

COVID-19 restrictions, which impacted volumes due to delayed routine medical exams and closed

dental operations. The resulting fallout of COVID-19 is still affecting the Company’s business

today.    Periodic lockdowns, staffing shortages, the increased prevalence of virtual medical


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appointments, further delay of certain medical tests and procedures, and the continued shift

towards digital-only products continues to exert downward pressure on the Company’s film sales

volume. The Company, like many other businesses today, has also faced substantial disruption

across its global supply chain, increasing input costs for product components and delaying delivery

of products and testing modules to customers and distributors. Finally, global inflationary

pressures have created further challenges for maintaining product margins.

       B.      Prepetition Restructuring Efforts

             i.    Term Loan Extensions and Sale Process

       35.     Leading up to the COVID-19 pandemic, the Debtors faced mounting headwinds to

their business and upcoming maturities under their debt facilities. As noted above, the medical

imaging business has seen significant shifts in developed markets to digital-only products, counter

to the historic print-focus of the Debtors’ product line. In emerging markets, the Debtors faced

downward pricing pressures with buyers consolidating and driving further pricing concessions. In

early 2020, facing a constrained liquidity position as a result of these challenges, the Company

commenced discussions with its lenders to address the approaching February 2021 and June 2021

maturities under the First Lien Credit Agreement and Second Lien Credit Agreement, respectively.

In May 2020, the Company and its lenders successfully amended both facilities to extend the

maturity date under the First Lien Credit Agreement to May 2023 and the maturity date under

the Second Lien Credit Agreement to August 2023. As part of the amendment negotiations, the

Company committed to achieving significant annual cost savings, among other things. Following

execution of the amendments under the debt facilities, the Company continued to explore various

liquidity enhancing opportunities by investing in select growth initiatives to mitigate certain

business headwinds, and by adapting its product offerings to comport with recent product demand.




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In September 2020, the Company retained Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) to

advise the Company on strategic transaction alternatives with respect to a potential sale process

(the “Sale Process”), as contemplated by the amended Second Lien Credit Agreement.

       36.     In February 2021, Houlihan Lokey began marketing the Company, contacting more

than 145 financial and strategic buyers, 57 of which executed non-disclosure agreements and

received initial diligence materials. In April 2021, four parties submitted initial indications of

interest and three were subsequently invited to complete further diligence, including meeting with

members of the Company’s management team. Following completion of additional diligence by

these parties, each of these parties indicated that their bid valuation would be less than the principal

amount of the Company’s funded debt. Upon receiving this feedback, Houlihan Lokey approached

several additional potential buyers and re-approached parties included in the initial outreach.

Ultimately, all of the bids received by the Company in the Sale Process were at pricing levels

below the principal amount of the Company’s funded debt. Accordingly, the Company proactively

sought to explore alternate, comprehensive restructuring solutions.

             ii.   Entry into the Initial Restructuring Support Agreement

       37.     In September 2021, the Crossover Group organized and engaged advisors to begin

negotiations with the Company regarding the terms of a comprehensive restructuring transaction.

Following months of arm’s-length negotiations, on April 22, 2022, the Company and certain First

Lien Lenders and Second Lien Term Lenders entered into a restructuring support agreement

(the “Initial RSA”). The Initial RSA provided for a toggle approach, contemplating an out-of-

court voluntary debt restructuring (the “Out-of-Court Restructuring”) in the event certain consent

thresholds were reached, and an in-court chapter 11 process if the Company was unable to

effectuate the Out-of-Court Restructuring. Specifically, under the Initial RSA, the Company




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agreed to pay all then outstanding first lien claims in full from the proceeds of a new first lien term

loan facility (the “Anticipated New 1L Facility”) and the holders of second lien term loan claims

agreed to exchange their claims for their pro rata share of (a) a new subordinated secured debt

facility and (b) 100% of the equity interests in the reorganized Company, subject to dilution.

Certain members of the Crossover Group committed to backstopping the Anticipated New 1L

Facility subject to the Company achieving satisfactory corporate and debt ratings.

             iii.   Initial RSA Financing Process

       38.      To market the Anticipated New 1L Facility, the Company retained JPMorgan

Chase Bank, N.A. (“JPM”) in June 2022. While JPM was marketing the financing, the U.S. credit

markets shifted dramatically and demand for participation in similar refinancings was substantially

diminished. Preliminary feedback from market participants indicated that market terms would be

less favorable than the backstopped terms provided by certain members of the Crossover Group.

Accordingly, the Company sought to enforce the Crossover Group’s backstop commitment under

the Initial RSA.

       39.      In July 2022, the Company received a determination that the resulting facility

would not achieve the necessary rating required by the Initial RSA. Accordingly, the Company

was unable to satisfy the conditions to exercise the backstop rights under the Initial RSA. As a

result of the foregoing, the Company faced a funding shortfall of approximately $142 million for

the refinancing. The remaining Backstop Parties were unable to fund the deficiency and instead

the Company and its stakeholders entered into further negotiations regarding a potential

consensual path forward. Following extensive, good faith negotiations, the parties mutually agreed

to implement a new consensual transaction that would account for the Company’s financing needs.




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              iv.    Entry into the Restructuring Support Agreement

        40.       The Company and the Crossover Group commenced negotiations regarding the

optimal path forward for the Company.            After extensive, arm’s-length negotiations, on

August 21, 2022, the Debtors and the parties to the Initial RSA terminated the Initial RSA and the

Debtors and certain of their lenders, including the Crossover Group, entered into the new

Restructuring Support Agreement with the Sponsor. The Restructuring Support Agreement

provides for a comprehensive in-court restructuring whereby the Restructuring Transactions will

be implemented through an equity rights offering, entry into a new term loan facility and a new

asset based revolving facility, and a debt-for-equity exchange, as further detailed in the Disclosure

Statement and the Plan. Importantly, the Restructuring Support Agreement provides that all

general unsecured claims, including employee and vendor obligations, will be paid in full in cash

or reinstated.

        41.       The Restructuring Support Agreement provides for the reorganization of the

Debtors as a going concern with a substantially deleveraged capital structure and sufficient

liquidity to implement the Debtors’ go-forward business plan. Consummation of the Restructuring

Transactions will reduce the Debtors’ total funded debt obligations by approximately $470 million

through an equitization of the Second Lien Term Loan Claims and will provide the Debtors with

up to $75 million of new money through the Rights Offering. The Restructuring Support

Agreement represents the successful culmination of months of restructuring efforts and a

significant compromise and continued commitment to the Debtors’ future by its key creditor

constituencies.

IV.     Proposed Timeline for These Chapter 11 Cases.

        42.       Under the Restructuring Support Agreement, the Debtors agreed to certain

milestones to ensure an orderly and timely implementation of the Restructuring Transactions.


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The Debtors have requested through the Scheduling Motion that the Combined Hearing be held

on September 28, 2022 (or as soon thereafter as the Court’s schedule allows), and the Debtors

intend to emerge from chapter 11 as soon as practicable after the Combined Hearing.

       43.     In my opinion, the Debtors must proceed promptly through confirmation and

emergence to preserve value for the benefit of the Debtors’ estates. A swift emergence from

chapter 11 will mitigate uncertainty among employees, customers, and vendors, minimize

disruptions to Carestream’s supply chain and business, and curtail professional fees and

administrative costs. I believe that expeditious confirmation of the Plan and consummation of

the Restructuring Transactions is in the best interests of the Debtors, their estates, and their

stakeholders, especially because Holders of approximately 73% of First Lien Claims and

approximately 98% of Second Lien Term Loan Claims have voted to accept the Plan.

V.     The Debtor-in-Possession Financing and Use of Cash Collateral

       44.     During these chapter 11 cases, the Debtors will need to use the cash generated from

their operations, as well as their current cash on hand, to (a) satisfy payroll obligations, (b) honor

all obligations under their customer contracts, (c) maintain insurance coverage, (d) pay taxes, and

(e) make any other payments essential to the continued management, operation, and preservation

of the Debtors’ business. Such cash, however, is likely insufficient to meet the Debtors’ liquidity

needs. Accordingly, the Debtors seek access to the liquidity provided by the DIP Facility during

the pendency of these chapter 11 proceedings.




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           45.    The material terms of the DIP Facility are as follows:

Company Parties                Carestream Health, Inc. (as Borrower) and Carestream Health Holdings, Inc.
                                and each material domestic subsidiary of the Borrower (as Guarantors), each
                                of which shall be a Debtor
Commitment Parties             Ten separate lenders in the Crossover Group
Facility                       $80 million multiple-draw, super-priority, senior secured term loan facility
                                secured by all assets of the Borrower / Guarantors
                                    - $50 million available for funding on the Interim Closing Date
                                    - $30 million to be funded on the Interim Closing Date
                               Tranche A ($5 million) and Tranche B ($75 million)
Rate                           Interest Rate: SOFR (1% floor) + 9.00% cash, payable monthly in cash
                               Undrawn DIP Fee: 1.00% per annum on the unused DIP Commitment
                                amount, payable monthly in cash
Adequate Protection            Adequate protection payments equal to contractual (non-default) debt service
                                on the existing 1L Revolver and 1L Term Loan
Maturity                       DIP Loans to mature and become payable on the earlier of:
                                   - 75 calendar days after the Petition Date, subject to no more than
                                       2 extensions of 30 days each
                                   - 45 calendar days after the Petition Date if the Final DIP Order has
                                       not been entered by such date
                                   - Select other milestones (including termination of the RSA by the
                                       Required Consenting 1L Lenders and other events)
DIP Budget, Reporting,         13-week cash flow forecast delivered to and approved by the Required DIP
& Variances                     Lenders prior to the Petition Date, and updated every four weeks thereafter
                                (subject to Required DIP Lender approval)
                               Weekly Variance Report to be delivered by 5pm ET each Thursday
                               Permitted Variances from DIP Budget: No less than 85% of aggregate
                                receipts and no more than 115% of aggregate operating disbursements during
                                first four-week period; no less than 90% and no more than 110% for each
                                four-week period thereafter
Fees                           DIP Commitment Fee: 2.00% on the aggregate DIP Commitment amount,
                                paid in-kind, earned upon execution of the Commitment Letter
                               Exit Fee: 4.00% cash fee on the DIP Loans, earned upon entry of the Interim
                                DIP Order, paid in cash upon exit / termination


           46.    As laid out more fully in the Declaration of Andrew Turnbull in Support of the

  Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors (A) to Obtain

  Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Liens and Superpriority

  Administrative Expense Claims, (III) Granting Adequate Protection to the Prepetition Secured

  Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief, the DIP Facility



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represents the best and only financing terms available to the Debtors under the circumstances. I

believe that the terms of the DIP Facility and DIP Documents, including the DIP Budget (as

defined therein), and the form and amount of adequate protection provided to the prepetition

secured parties, are fair and appropriate under the circumstances and in the best interests of the

Debtors’ estates.

       47.      The transactions contemplated by the Restructuring Support Agreement and

the Plan will position Carestream for long-term success and will ensure that its vendors have a

financially sound go-forward business partner. After an extensive review process, the Debtors

have determined that the transactions set forth in the Restructuring Support Agreement and Plan

present the Debtors with a viable path forward to maximize value for all stakeholders.

VI.    First Day Motions

       48.      On the Petition Date, the Debtors filed the following First Day Motions:

       •     DIP Motion. Debtors’ Motion Seeking Entry of Interim and Final Orders
             (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize Cash
             Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,
             (III) Granting Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling
             a Final Hearing, and (VI) Granting Related Relief.

       •     DIP Sealing Motion. Debtors’ Motion for Entry of an Order Authorizing the Debtors
             to Redact Certain Portions of the Letters Related to the DIP Facility.

       •     Cash Management Motion. Debtors’ Motion for Entry of Interim and Final Orders
             (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
             System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
             Existing Business Forms, and (D) Perform Intercompany Transactions and
             (II) Granting Related Relief.

       •     All Claims Motion. Debtors’ Motion for Entry of Interim and Final Orders
             (I) Authorizing Payment of All Accounts Payable Claims in the Ordinary Course of
             Business, (II) Granting Administrative Expense Priority to Undisputed Obligations on
             Account of Outstanding Orders, (III) Authorizing Satisfaction of Obligations Related
             Thereto, and (V) Granting Related Relief.

       •     Utilities Motion. Debtors’ Motion for Entry of Interim and Final Orders
             (I) Determining Adequate Assurance of Payment for Future Utility Services,


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    (II) Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Services,
    and (III) Approving the Debtors’ Proposed Procedures for Resolving Adequate
    Assurance Requests, and (IV) Granting Related Relief.

•   Wages Motion. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
    the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
    Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II)
    Granting Related Relief.

•   Customer Programs Motion. Debtors’ Motion for Entry of an Order (I) Authorizing
    the Debtors to (A) Maintain and Administer Their Customer Programs and (B) Honor
    Certain Prepetition Obligations Related Thereto, and (II) Granting Related Relief.

•   Insurance Motion. Debtors’ Motion for Entry of Interim and Final Orders
    (I) Authorizing the Debtors to (A) Maintain Insurance and Surety Coverage Entered
    Into Prepetition and Pay-Related Prepetition Obligations, and (B) Renew, Supplement,
    Modify, Modify, or Purchase Insurance and Surety Coverage, and (II) Granting
    Related Relief.

•   Taxes Motion. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
    the Payment of Certain Taxes and Fees and (II) Granting Related Relief.

•   NOL Motion. Debtors’ Motion for Entry of Interim and Final Orders (I) Approving
    Notification and Hearing Procedures for Certain Transfers of and Declarations of
    Worthlessness with Respect to Common Stock and (II) Granting Related Relief.

•   Scheduling Motion. Debtors’ Motion for entry of an Order (I) Scheduling a Combined
    Disclosure Statement Approval and Plan Confirmation Hearing, (II) Approving
    Related Dates, Deadlines, Notices, and Procedures, (III) Approving the Solicitation
    Procedures and Related Dates, Deadlines, and Notices, (IV) Approving the Rights
    Offering Procedures and Related Dates, Deadlines, and Notices, (V) Conditionally
    Waiving the Requirements that (A) the U.S. Trustee Convene a Meeting of Creditors
    and (B) the Debtors File Schedules of Assets and Liabilities, Statements of Financial
    Affairs, and Rule 2015.3 Financial Reports.

•   Creditor Matrix Motion. Debtors’ Motion for Entry of Interim and Final Orders
    (I) Authorizing the Debtors to (A) File A Consolidated List of Creditors in Lieu of
    Submitting A Separate Mailing Matrix for Each Debtor, (B) File A Consolidated List
    of the Debtors’ Thirty Largest Unsecured Creditors, and (C) Redact Certain
    Personally Identifiable Information, and (II) Granting Related Relief.

•   Exit ABL Motion. Debtors’ Motion for Entry of an Order (I) Approving the Debtors’
    Entry into the Exit ABL Facility Commitment Documents, (II) Authorizing Payment of
    Expenses and Fees Thereunder, and (III) Granting Related Relief.




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       •     Exit ABL Sealing Motion. Debtors’ Motion for Entry of an Order Authorizing the
             Debtors to Redact Certain Portions of the Exit ABL Facility Commitment
             Documents.

       •     Joint Administration Motion. Debtors’ Motion for Entry of an Order (I) Directing
             Joint Administration of Chapter 11 Cases and (II) Granting Related Relief.

       •     Kurtzman Carson Consultant LLC 156(c) Retention Application. Debtors’
             Application for Authorization to Employ and Retain Kurtzman Carson
             Consultants LLC as Claims and Noticing Agent Effective as of August 23, 2022.

       49.      I have reviewed and am familiar with the content of each of the First Day Motions

and have consulted with the Debtors’ advisors to ensure that I understand each First Day Motion

and the relief requested therein. To the best of my knowledge and belief, the factual statements

contained in each of the First Day Motions are true and accurate and each such factual statement

is incorporated herein by reference.

       50.      Based on my knowledge, and after reasonable inquiry, I believe that the approval

of the relief requested in the First Day Motions is: (a) necessary to enable the Debtors to transition

into, and operate efficiently and successfully in, chapter 11 with minimal disruption or loss of

productivity and value; (b) critical to the Debtors’ achieving a successful restructuring; and (c) in

the best interest of the Debtors’ estates and their stakeholders. I believe that, if the Court does not

grant the relief requested by the Debtors in the First Day Motions, the Debtors’ business and their

estates will suffer immediate and irreparable harm. Accordingly, for the reasons set forth herein

and in the First Day Motions, the Court should grant the relief requested in each of the First Day

Motions.

                                            * * * * * *




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

Dated: August 23, 2022                      By: /s/ Scott H. Rosa
                                            Name: Scott H. Rosa
                                            Title: Chief Financial Officer of
                                            Carestream Health, Inc., on behalf of itself and each
                                            of its Debtor affiliates
